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UNITED STATES BANKRUPTCY COURT
DISTRICT OF VERMONT
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In re:

         ROMAN CATHOLIC DIOCESE OF                                         Case No. 24-10205
         BURLINGTON VERMONT,                                               Chapter 11

                                       Debtor.
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                                            CERTIFICATE OF SERVICE

        I hereby certify that on March 11, 2025, I electronically filed the Response and Objection of The
Official Committee Of Unsecured Creditors to the Debtor’s Motion for an Order Authorizing the
Payment of Pension Benefits to Credibly Accused Priests Clerk of Bankruptcy Court using CM/ECF
system which sent notification of such filings to all ECF participants.

         Additionally, I served the same on March 11, 2025, on the following notice parties via email:

                   Lorei Dawson
                   ldawson@vermontcatholic.org

                   Counsel for the Diocese, Fredrikson & Byron, P.A., Attn: Steven R. Kinsella, Esq.
                   skinsella@fredlaw.com

                   Local Counsel for the Diocese, Obuchowski Law Office
                   ray@oeblaw.com

                   Counsel for the Committee, Pachulski Stang Ziehl & Jones, Attn: Brittany Michael
                   bmichael@pszjlaw.com

                   Office of the U.S. Trustee, Attn: Lisa Penpraze
                   Lisa.Penpraze@usdoj.gov




Dated: March 11, 2025                                              /s/Patricia Hartl
                                                                   Patricia Hartl
